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                              HN Forensic Consulting LLC




      July 9, 2024


      Janis C. Puracal
      Andrew C. Lauersdorf
      Maloney Lauersdorf Reiner PC
      1111 E. Burnside St., Suite 300
      Portland, Oregon 97214

      David B. Owens
      Loevy & Loevy c/o
      Civil Rights and Justice Clinic
      University of Washington Law School
      William H. Gates Hall, Suite 265
      PO Box 85110
      Seattle, WA 98145-1110


RE:       McGuffin v. Dannels, et al.
          U.S.D.C. District of Oregon
          Case Nos. 6:20-cv-01163-MK and 3:21-cv-01719-MK


      Dear Counsel,

      My name is Huma Nasir and I am a Forensic DNA Consultant. I previously served as a Forensic
      Analyst/Supervisor and the Technical Leader of a private DNA lab, Cellmark Forensics in Dallas, TX
      until this lab merged with a forensic lab in Virginia and became Bode Cellmark Forensics. I have a
      Master of Science degree in Pharmaceutical Sciences with a concentration in Forensic Serology and
      DNA from the University of Florida. I have over twenty years of experience in Forensic DNA analysis
      and I have personally performed DNA testing and/or analysis for thousands of forensic cases.

      I was asked to perform a document review of the DNA testing performed by the Oregon State Police
      Forensic Laboratory (OSP Lab) in the above referenced case. Among other materials, I have reviewed
      the following OSP lab casework protocols and laboratory reports related to the DNA analysis
      performed in this case:

          •   OSP bench notes and case file including electropherograms/allele charts for samples tested
          •   OSP lab report dated August 27, 2000 signed by Mary Krings
          •   OSP lab report dated January 21, 2002 signed by Mary Krings
          •   OSP lab report dated May 24, 2010 signed by Susan Hormann
          •   OSP lab report dated November 10, 2010 signed by Susan Hormann
          •   OSP lab report dated May 9, 2017 signed by Marla Kaplan
          •   Amended OSP lab report dated May 17, 2017 signed by Marla Kaplan
          •   OSP lab report dated October 10, 2017 signed by Janelle Moore
          •   Cybergenetics report for this case dated August 9, 2018



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As a result of this review, I have made the following observations and formed the following opinions:

        1. The OSP Lab tested three cuttings, 1.1, 1.2 and 1.3, from the right Nike tennis shoe (Exhibit
           1). The results from this sample are reported as follows in the report dated August 27, 2000:

                “The DNA profile from Exhibit 1 (right Nike shoe)…matches the DNA profile from Leah
                Freeman…”.

            The lab did not report the results obtained from each cutting taken from the right Nike tennis
            shoe; rather, only one general conclusion was reported for Exhibit 1 – that as matching Leah
            Freeman.

            Although, it is correct that the DNA obtained from the right Nike tennis shoe matches Leah
            Freeman, that is not the complete or only conclusion that can be made from the testing
            performed on this exhibit. The results from each of the cuttings taken from the right Nike
            tennis shoe should have been reported separately since they were 3 separate samples. Failing
            to report all results is a significant departure from professional and scientific standards for
            forensic DNA labs.

        2. By reporting one general conclusion from the right Nike tennis shoe, the lab failed to report
           that the DNA profile obtained from cutting 1.3 is in fact consistent with a mixture of two
           individuals, including one minor male contributor. The major profile in this sample matches
           Leah Freeman and the minor profile is generated from an unknown male. Nicholas McGuffin
           and several other individuals tested are excluded as possible contributors to this mixture
           profile.

        3. According to the laboratory’s analysis protocols at the time, there were clear guidelines
           provided to recognize a mixture profile. In addition, the protocol stated “Peaks between 50
           and 150 RFU will be considered for purposes of exclusion”. However, the records I reviewed
           show that the protocol was not followed in this case. The minor alleles in cutting 1.3 are in
           fact between 50 and 150 RFU and they clearly exclude Nicholas McGuffin; however, this
           exclusion was never reported. In fact, the lab did not even report that a mixture including a
           male was obtained from this sample. Ignoring the mixture profile including a male and simply
           reporting that the profile is consistent with the victim was not the “best” result or the most
           “conservative” result to report. Even if the minor alleles were below the 150 RFU threshold,
           the standards and protocols required the lab at least report this sample as a mixture profile
           including at least one male. If their protocols did not allow statistical calculations on these
           peaks below 150 RFU, the lab should have at least stated that a mixture profile was obtained
           with an unknown male but this data was unsuitable for comparison.

        4. Omitting the fact that cutting 1.3 produced a mixture profile including a minor male and that
           Nicholas McGuffin is excluded from this mixture profile was a significant departure from
           professional and scientific standards. Omitting these results from the report created the
           misleading impression that only a single source profile consistent with Leah Freeman was
           obtained from this sample. Failure to report these results was not the conservative approach;
           it was simply incorrect and misleading. This is especially critical because, as a forensic DNA
           lab, the OSP Lab should report conclusions in a manner that would allow a lay person reading
           the lab report to know that a mixture profile was obtained from this sample and there was
           presence of male DNA in the sample. To determine that there was additional information
           obtained from testing of the samples in this case requires a review and understanding of the
           technical data, including lab notes, worksheets and electropherograms. A lay person without
           technical expertise in DNA analysis would be led to believe from the OSP Lab report that

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         only Leah Freeman’s profile was obtained and there is no additional profile obtained from
         this sample. Professional and scientific standards require forensic DNA labs to report all
         conclusions from all tested evidence.

     5. Upon inquiring regarding the additional male profile not being reported from sample 1.3, the
        lab claimed that the analyst did not interpret the alleles present below 150 RFU threshold and
        therefore did not report the additional data. However, the lab notes indicate otherwise. The
        lab notes show that the analyst interpreted the DNA profile as a mixture, and there are
        handwritten notes stating “mixture female major” (see attachment 1). The bench notes reflect
        an interpretation of a mixture of more than one individual. Furthermore, the note indicating a
        “major female” in the sample means that there is also the presence of a minor donor. Despite
        the bench notes documenting the interpretation of a mixture, the analysts did not report the
        interpretation as such.

     6. The lab issued an updated report after the profiles obtained in this case were re-examined and
        the mixture profiles were re-interpreted. I agree with the conclusions reported in lab report
        dated May 9, 2017 regarding cutting 1.3 from the right Nike shoe.


     7. The OSP lab also tested the left Nike tennis shoe (Exhibit 2). For cutting 2.3 taken from the
        left Nike tennis shoe, the lab’s conclusions were reported as follows in the report dated
        August 27, 2000:


             “The DNA profiles from Exhibit 2.3 (left Nike shoe) indicate the presence of DNA from
             more than one person. The major profile is consistent from Leah Freeman. The minor
             profile is from a male”.

         The report dated January 21, 2002 further states:

             “The DNA profile of Kip Oswald is consistent with the minor profile in the previously
             analyzed Exhibit 2.3 (left Nike shoe)”.

         I do not agree with this conclusion. If the mixture profile is consistent with Leah Freeman
         and Kip Oswald, there are two additional alleles at D3 and D13 loci that are foreign to both
         Leah Freeman and Kip Oswald indicating either a third contributor or a contributor other than
         Kip Oswald. The lab, however, did not report either possibility. The lab’s report creates the
         incorrect and misleading impression that the only contributors to Exhibit 2.3 (left tennis shoe)
         were Leah Freeman and Kip Oswald. Professional and scientific standards require that
         forensic DNA labs report all conclusions from all tested evidence.

         The data from testing shows that the DNA profile obtained from Exhibit 2.3 (left tennis shoe)
         is a mixture of two individuals including a male contributor. The major profile in this mixture
         matches Leah Freeman. The minor profile originated from an unknown male. Kip Oswald,
         Nicholas McGuffin and several other individuals are excluded as possible contributors to this
         mixture profile.

     8. These conclusions regarding cutting 2.3 from the left Nike shoe were amended by the lab in
        2017 and I agree with the conclusions reported in lab report dated May 9, 2017.

     9. The OSP lab performed testing on additional items in 2010 and issued additional reports in
        this case. In the years prior to 2010, the analysis protocol was changed such that the

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            stochastic threshold was lowered to 100 RFU instead of 150 RFU. At this time, the lab should
            have re-interpreted the previously reported profiles and issue correct conclusions prior to the
            trial in 2011. However, the lab did not re-interpret or correct any of the previously reported
            conclusions. Therefore, although the lab had knowledge of data they generated where male
            DNA inconsistent with Nicholas McGuffin was detected on the right and left shoe, the lab
            did not reveal the presence of an unidentified male on the shoes at the time of the trial. The
            lab, further, did not issue amended reports to document the exclusion of Nicholas McGuffin
            as a contributor.

        10. OSP Lab criminalist Kathy Wilcox performed presumptive testing for the presence of blood
            on the left shoe. Four areas are marked on the bottom sole of the shoe and are labeled “#1,
            #2, #3 and #4” (see attachment 2). Area #2 is labeled as “high velocity (small) blood droplet
            on side of traction square”. However, the handwritten notes indicate that no presumptive
            blood testing was performed on swab #2 from the shoe. Without any presumptive or
            confirmatory serological testing for blood performed on a biological sample, it cannot be
            conclusively stated that the sample source is blood.

        11. Forensic testing may be performed on evidentiary items to obtain answers to certain
            questions i.e. whether an individual’s DNA is present on an item. However, once the DNA
            testing is performed and results are obtained, all results should be reported without bias. If
            an item was tested for wearer DNA and DNA was detected from someone other than the
            wearer of the item, the results from the unknown individual should be reported. To withhold
            any results after testing falls short of professional and scientific standards for forensic DNA
            labs.

After reviewing the data and report generated by retesting samples in this case in 2017, I conclude the
following:

        12. It is my professional opinion that there is a strong possibility that an unidentified individual
            contributed DNA to both the right and left Nike shoes of Leah Freeman.

        13. This opinion is based on comparison of possible foreign alleles in the samples tested from the
            right and left Nike shoes. The possible foreign alleles considered are listed in Table 1 below.
            As seen in Table 1, there are identical alleles present at numerous loci/markers in samples
            from the right Nike shoe (Exhibits 1.2 and 1.3) and the left Nike shoe (Exhibits 2.6, 2.4.1ul
            and 2.5). The presence of identical alleles in samples from right and left Nike shoes indicates
            the likely presence of the same individual in both shoes. The data indicates that the same
            person may have touched or handled both the right and left shoes of Leah Freeman.

        14. Foreign alleles are those deduced by subtracting a known profile from a mixture profile
            obtained. For example, if a mixture profile at a given locus/marker is “12,13,14,15” and an
            individual known to have contributed DNA to this profile has alleles 12,13, then the deduced
            foreign alleles would be 14 and 15. Foreign alleles are the alleles remaining in a mixture
            profile after the known individual’s DNA profile is accounted for. In this case, I deduced the
            possible foreign alleles from the right and left shoe profiles by subtracting the known profiles
            of Leah Freeman and Kip Oswald.


        15. There are two loci with identical alleles of note from samples taken from the right and left
            Nike shoes. At locus D1S1656, alleles 12 and 16.3 are obtained from Exhibit 1.2, cutting
            from heel of Right Nike shoe. Identical alleles are present at this locus in exhibits 2.6 (tongue
            swab of left Nike shoe), 2.4.1ul (ankle of left Nike shoe) and 2.5 (tongue cutting of left Nike

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        shoe). It is my professional opinion that it is highly probable these alleles were contributed to
        the right and left Nike shoes by the same unknown individual.

        I calculated the frequency estimate of obtaining alleles 12 and 16.3 at this locus and this allele
        combination is expected to be found approximately 1 in 61 Caucasian individuals.

        Similarly, allele 18.3 is observed in exhibit 1.2 and 1.3 (heel and ankle areas of Right Nike
        shoe) as well as in exhibit 2.6 (tongue swab of left Nike shoe) at the D12S391 locus. The
        frequency estimate of obtaining this allele is approximately 1 in 22 Caucasian individuals.

        Random Match Probability (RMP) is a calculation to measure the probability of a random,
        unrelated person matching the genotype derived from the evidence.
        A genotype obtained at any given locus/marker has a number of alleles, and each allele has
        a frequency in a certain race. This frequency is the RMP of that allele.
        Using the random match probability calculation, the frequency estimate of obtaining alleles
        (12, 16.3) at locus D1S1656 and alleles (18.3, any allele) at locus D12S391 is approximately
        1 in 1,462 Caucasian individuals. Therefore, this combination of alleles at these two loci is
        expected to be found 1 in 1,462 Caucasian individuals.
        See Table 2 below for similar frequencies in African American and Hispanic populations.

        The random match probability at these two loci provides further support for the same
        individual being present in both the right and left Nike shoes of Leah Freeman.

    16. Based on the information provided above, it is my professional opinion that there is strong
        possibility that the same unknown individual is present in DNA profiles obtained from both
        the right and left shoes of Leah Freeman.

    17. It is my professional opinion that Nicholas McGuffin’s DNA is not identified on any
        evidentiary item associated with Leah Freeman.

    18. I reserve the right to change my opinions if new information becomes available.


If I can be of further assistance in this matter, please do not hesitate to contact me.



Sincerely,



Huma Nasir, MS, ABC-MB
Forensic DNA Consultant
HN Forensic Consulting LLC




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Table 1: Possible Foreign Alleles Obtained from Right and Left Nike Shoes of Leah Freeman


 Exhibit #                  1.2              1.3                 2.6         2.4.1ul            2.5
 Sample                                                                                       tongue
 Description               heel           ankle         tongue swab            ankle          cutting
                             Right Nike Shoe                              Left Nike Shoe
 Locus
 D3S1358                15, 16, 18            15            15, 18             ND               15
 vWA                       16, 19           16, 20            16               15               ND
 D16S539                     12               12            12, 13             ND               ND
 CSF1PO                     ND               ND              ND                ND               ND
 TPOX                        12               11             ND                ND               ND
 D8S1179                   14, 15           11, 15        11, 14, 15           12               ND
 D21S11                    29, 30         29, 30, 31          31               ND               ND
 D18S51                     ND              14, 21            17               ND               ND
 D2S441                      14             14, 16       11.3, 14, 16          14               ND
 D19S433                    ND               ND              ND                ND               ND
 TH01                    6, 9, 9.3          6, 8, 9            8                8               ND
 FGA                       20, 21             19              21               20               ND
 D22S1045                  14, 16             17            11, 17           13.2, 17           ND
 D5S818                      12               12             ND                ND               ND
 D13S317                    ND              8, 12              8               ND               ND
 D7S820                     ND              8, 13            ND                ND               ND
 SE33                       ND                18              19               ND               ND
 D10S1248                  13, 16             13              16               ND               ND
 D1S1656                 12, 16.3             12           12, 16.3          12, 16.3         12, 16.3
 D12S391                 18.3, 19          18.3, 22      18.3, 21, 22          ND               ND
 D2S1338                    ND              17, 20            17               20               ND
 ND = possible foreign allele(s) not determined

Notes:
1. Exhibits 1.2 & 1.3: Possible foreign alleles determined by subtracting the DNA profile of Leah
Freeman from the mixture profiles obtained.

2. Exhibits 2.6 and 2.5: Possible foreign alleles determined by subtracting the DNA profiles of Leah
Freeman and Kip Oswald from the mixture profiles obtained.

3. Exhibit 2.4.1ul: Possible foreign alleles provided by OSP lab labeled as Contributor 3 in STRMix
analysis sheet on p. 798 of OSP case file. These alleles were obtained by subtracting the DNA profiles
of Leah Freeman and Kip Oswald.




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Table 2: Frequency Estimates and Random Match Probability (RMP) for D12S391 and D1S1656

                                  African
 Locus   Allele Combination      American        Caucasian         Hispanic
 D12S391    18.3, any allele      1 in 41         1 in 22           1 in 23
 D1S1656        12, 16.3          1 in 81         1 in 64          1 in 103

  RMP for D12S391 & D1S1656      1 in 3351       1 in 1462        1 in 2380

Notes:
1. Frequency estimates calculated using Allele frequencies provided in the GlobalFiler™ PCR
Amplification Kit User Guide (2013).




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                 Attachment
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Review of Forensic DNA
Testing – Nicholas
McGuffin Case
     Huma Nasir, MS, F-ABC
     Forensic DNA Consultant
     July 2024




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                           What is DNA?
DNA is the genetic material of all organisms. DNA determines who we
are. Half of our DNA is inherited from our biological mothers and half
                    is from our biological fathers.




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Where in the body is DNA
found?
All nucleated cells

• Blood                             • Tissue
• Saliva                            • Bone
• Epithelial or skin                • Hair
  cells                             • Sweat
• Sperm cells




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  DNA is present in nucleus of cells




                             STR
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Short Tandem Repeats (STRs)


                                 AATG




                               7 repeats

                                8 repeats


  The repeat region is variable between individuals
  while the flanking regions are the same


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            Does DNA vary from person to person?
    Yes, except for identical twins, no two people will have the same
                              DNA profile.


               Can you identify this difference?
 We do forensic testing on genes that do not code for any traits but
are possessed by every individual. And since no two people have the
         same DNA profile, we can identify the difference.




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                 Steps in DNA Sample Processing
Sample Obtained from
    Crime Scene
                                             Proceed w/
                                             adequate quantity of
  Take portion                               extract
  of sample                                  Remainder of extract
                         DNA
                                             left for re-testing
                         extract
              DNA                     DNA                   PCR Amplification
            Extraction             Quantitation          of Multiple STR markers




                                                               PCR
                                                               amplicon

                   Separation and Detection of                      Sample Genotype
                          PCR Products                               Determination
                          (STR Alleles)




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 Amplification—Making Copies
PCR (Polymerase Chain Reaction)




                                                                                28
                                                                                Cycles
      1 Cycle
                  2 Cycles
                               3 Cycles
DNA
                                           4 Cycles


                                                            5 Cycles
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Last steps in DNA processing

• Detection and separation of DNA fragments on
  specialized machines called Genetic Analyzers
• DNA profile obtained using special software that
  assigns allele calls to DNA fragments
• Compare DNA Profiles from unknown samples to
  knowns
• Interpretation of the results obtained
• Conclusions based on results




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Possible Conclusions


•No result
•Inconclusive
•Exclusion
•Inclusion


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What exclusion means

• Unknown evidentiary profile and known
  DNA profile of the subject do not match.
• Known subject’s DNA was not detected
  from the evidence sample, therefore;
  subject is excluded as a possible DNA
  donor of the evidentiary sample.




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What inclusion means

• Unknown evidentiary profile and known DNA profile
  of the subject match (consistent with each other).

• The known subject cannot be excluded as a
  contributor to the DNA profile obtained from the
  evidence
• Provide appropriate statistical calculations to
  provide weight to the DNA match – how
  common is the DNA profile that was obtained
  from the evidence and matches subject




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DNA Interpretation Considerations
• Single Source profile vs. Mixture Profile
    • Single Source – DNA profile originated from a single individual
    • Mixture – DNA profile contains DNA from more than one individual
         • Major vs. Minor DNA donors in a mixture

• Analytical vs. Stochastic Thresholds
    • Analytical Threshold – an RFU value (peak height) where you
      are reasonably sure a peak is a true allele and not baseline or
      background noise
         • OSP analytical threshold in 2000 was 50 RFU
    • Stochastic Threshold – an RFU value (peak height) where you
      are reasonably sure that two alleles from both parents are
      being represented and there is no allele drop out
         • OSP stochastic threshold in 2000 was 150 RFU




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                    Single Source Profile Example
   Marker D3



  Allele: 16
  Peak height:
  4934 RFU




Two alleles per
marker maximum




   Profile from MAAFS conference – Globalfiler presentation 2014




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                     Mixture Profile Example
  Two
  major
  and
  two
  minor
  alleles




3 alleles
at marker


4 alleles
at marker




Profile from: https://www.thermofisher.com/content/dam/LifeTech/Documents/PDFs/upgrading-the-workflow.pdf




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                 Analytical vs. Stochastic Thresholds


                                                                               Major alleles




                                                                                   Minor alleles


                              OSP: 150 RFU



                               OSP: 50 RFU




                     Two major and two minor alleles – all above analytical and stochastic thresholds




Slide info from: https://strbase.nist.gov/training/AAFS2011-MixtureWorkshop-Fundamentals.pdf




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                 Analytical vs. Stochastic Thresholds
                 Example




                                                      stutter    major             2 minor alleles        stutter   major




             Two major and two minor alleles with two stutter peaks –
             two minor alleles are above analytical but below stochastic thresholds


Slide info from: https://strbase.nist.gov/training/AAFS2011-MixtureWorkshop-Fundamentals.pdf




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OSP Lab Report dated August 27, 2000

Exhibit 1 – Right Nike tennis shoe from victim
    • Only one result was reported although 3 separate
      cuttings were tested from the shoe
    • The reported conclusion is “…DNA profile from Exhibit 1
      (right Nike shoe)…matches the DNA profile from Leah
      Freeman…”.
    • This report does not mention the following:
         • The DNA profile is in fact a mixture of two individuals,
           including a male DNA donor
         • Nicholas McGuffin is excluded as a contributor to the
           DNA profile obtained from this shoe




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OSP Lab Report dated August 27, 2000

Exhibit 1 – Right Nike tennis shoe from victim
    • OSP Lab did not report the mixture profile or the presence
      of male DNA because the alleles indicating a mixture and
      male DNA were less than the lab’s stochastic threshold of
      150RFU
    • OSP Lab claimed “analyst discretion” for reporting the
      “best result” from a sample.




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OSP Lab Report dated August 27, 2000
Exhibit 1 – Right Nike tennis shoe from victim
    • OSP Lab should have reported the mixture profile because OSP
      Lab protocols from 2000 state the following:
         • Protocols define how to recognize and report a mixture
           profile
         • Protocol states “Peak height less than 150RFU may be
           interpreted with caution”
         • Protocol states “Peaks between 50 and 150 RFU will be
           considered for purposes of exclusion”.
               •   There were peaks present in profile from cutting 1.3 that were
                   less than 150RFU and they excluded McGuffin. However,
                   McGuffin’s exclusion was not reported.
    • OSP Lab protocols from 2000 DO NOT state that reporting a profile
      is up to “analyst discretion” or only “best results” will be reported.
    • OSP Lab protocols DO NOT define “analyst discretion” or “best
      results”




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OSP Lab Report dated August 27, 2000

Exhibit 2 – Left Nike tennis shoe from victim
    • The DNA profile obtained from this sample is a mixture
      with Leah Freeman as the major contributor and the
      minor is a male.
    • Nicholas McGuffin is excluded as a contributor to the
      minor male profile but that was not reported by the lab.




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Possible Presence of a Same Contributor in
Right and Left shoes of the victim
    • There is a strong possibility that an unknown individual
      contributed DNA to both the right and left Nike shoes of
      Leah Freeman.
    • How is a foreign profile deduced from a mixture profile?
         • Assume the number of contributors in the mixture
         • Assume a known contributor’s DNA is present in the
           mixture
         • Subtract the known person’s DNA from the mixture to
           obtain the foreign “deduced” profile




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Possible Presence of a Same Contributor in
Right and Left shoes of the victim
Example of deduced profile
                  Mixture Profile
                  obtained from
                  victim's vaginal              Known Profile of Foreign Deduced
                  swab                          Victim A         Profile
       Marker 1      12, 13, 14, 15                   12, 13           14, 15
       Marker 2        7, 8, 9, 9.3                    8, 9             7, 9.3
       Marker 3      20, 22, 23, 24                   20, 24           22, 23
       Marker 4      16, 18, 19, 21                   19, 21           16, 18
       Amelogenin          X, Y                        X, X              X, Y


•   Mixture of two individuals including at least one male donor.

•    Victim A cannot be excluded.

•    Subtract victim A’s profile from the mixture.

•   What remains is the deduced foreign profile of the unknown male.




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Possible Foreign Alleles Obtained from Right and Left Nike Shoes of Leah Freeman


 Exhibit #                 1.2              1.3              2.6            2.4.1ul         2.5
 Sample                                                                                   tongue
 Description               heel           ankle         tongue swab           ankle       cutting
                             Right Nike Shoe                             Left Nike Shoe
 Locus
 D3S1358                 15, 16, 18           15            15, 18            ND            15
 vWA                       16, 19           16, 20            16              15            ND
 D16S539                     12               12            12, 13            ND            ND
 CSF1PO                      ND              ND              ND               ND            ND
 TPOX                        12               11             ND               ND            ND
 D8S1179                   14, 15           11, 15        11, 14, 15          12            ND
 D21S11                    29, 30         29, 30, 31          31              ND            ND
 D18S51                      ND             14, 21            17              ND            ND
 D2S441                      14             14, 16       11.3, 14, 16         14            ND
 D19S433                     ND              ND              ND               ND            ND
 TH01                     6, 9, 9.3         6, 8, 9            8               8            ND
 FGA                       20, 21             19              21              20            ND
 D22S1045                  14, 16             17            11, 17          13.2, 17        ND
 D5S818                      12               12             ND               ND            ND
 D13S317                     ND             8, 12              8              ND            ND
 D7S820                      ND             8, 13            ND               ND            ND
 SE33                        ND               18              19              ND            ND
 D10S1248                  13, 16             13              16              ND            ND
 D1S1656                  12, 16.3            12           12, 16.3         12, 16.3      12, 16.3
 D12S391                  18.3, 19         18.3, 22      18.3, 21, 22         ND            ND
 D2S1338                     ND             17, 20            17              20            ND
 ND = possible foreign allele(s) not determined
 Highlighted alleles are common in right and left shoe samples




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Conclusions



   • Nicholas McGuffin’s DNA is not detected on any items
     tested originally in 2000 or items retested in 2017.
        • Insufficient and inconclusive results DO NOT mean
          that McGuffin’s DNA is identified in any samples.


   • There is a strong possibility that one same unknown
     individual is present in both the right and left shoes of
     Leah Freeman.




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                                              Curriculum Vitae

                                      HUMA NASIR, MS, ABC-MB



Education

M.S.                           University of Florida                                                  2006
Pharmaceutical Sciences with concentration in Forensic Serology and DNA


B.S.                                  University of New Orleans                                       2000
Biological Sciences

Professional Experience

June 2017 – Present
Forensic DNA Consultant                                                          HN Forensic Consulting LLC, TX
Forensic DNA Expert providing consulting services to law enforcement agencies in the United States. As an expert, I
provide independent review of the DNA testing and testify to my findings as needed. My services include case
consultation, trial preparation, testing observation and trial testimony.

March 2019 – October 2023                                                        DevLab bio, LLC, Coppell, TX
Vice President of Operations
 •   Responsible for the overall operations of laboratory, ensuring operations meet or exceed all key performance indicators
 •   Develop and implement operational standards for the lab
 •   Oversee laboratory testing and daily operations to complete all projects in the lab
 •   Ensures that regulatory requirements are met, monitoring test systems to ensure that they are in control
 •   Supervise employees, including all activities relative to staffing, work assignments, hiring/termination, performance
     reviews, orientation, and professional development
 •   Maintain client contact on all current and potential projects in the lab
 •   Oversee purchasing and testing of lab equipment to support efficiency/cost improvements.
 •   Create a culture of operational excellence, accountability and collaboration where teamwork and active problem-solving
     result in continuous improvement
 •   Lead strategic planning for lab; supporting continual growth, including equipment acquisition, personnel and process
     evolution.
 •   Oversee all lab budgeting activities and annual budget planning
 •   Maintain quality and efficiency, ensuring all laboratory day-to-day execution is consistent and in adherence with
     regulatory requirements

June 2017 – December 2018                                                           RealTime Labs, Carrollton, TX

Lab Manager
Manage daily operations of the CAP accredited laboratory including supervision of ELISA and molecular testing.
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  June 2016 – June 2017                                                                Bode Cellmark Forensics, VA

  Senior Forensic DNA Analyst:
  Duties include casework analysis and report writing, case reviews of work performed by other laboratories, preparing
  affidavits and providing expert testimony as needed. Also responsible for technical review of all validations provided
  to external government agencies to ensure compliance with accreditation standards and assist with laboratory work,
  data analysis and summary reports as needed.

January 2008 – December 2015                                        Orchid Cellmark/Cellmark Forensics, Dallas, TX
  Technical Leader/Associate Laboratory Director
  Forensic DNA Analyst III/IV/Team Leader (1/1/2008-11/31/11)
  Supervisor Forensics (12/1/11-7/9/12)
  Technical Leader, mtDNA and Y-STRs (7/9/12 – 3/4/13)
  Technical Leader, autosomal STRs, Y-STRs and mt DNA (3/5/13-12/2015)
      • Responsible for technical management of the laboratory, including technical problem solving of analytical
          methods. Responsible for method evaluation and proposing new or modified analytical procedures to be
          used by the laboratory.
      • As Associate Director, assisted in the direction, overall operation and administration of the Forensic
          laboratory.
      • Responsible for assisting with the oversight of training of new employees, quality control and quality
          assurance, and proficiency testing of all qualified forensic analysts in the laboratory.
      • Conducted Internal Audits of the forensic laboratory and ensured compliance with various accrediting
          agencies. Ensured compliance with FBI’s Quality Assurance Standards, SWGDAM guidelines, ASCLD
          standards and ISO17025 standards.
      • Responsible for ensuring that casework is processed in an accurate and timely manner. Duties include case
          reviews, expert witness testimony as a court qualified expert, and client contact.
      • Possesses in-depth expertise with all forensic DNA testing methodologies including autosomal STRs, Mini-
          STRs, Y-STRs and mitochondrial DNA testing.
      • Continued casework analysis, reporting and technical review.

  March 2001 – December 2007                                 ReliaGene Technologies, Inc. New Orleans, LA
  Associate Scientist I (2001-2003):
      • Extraction, PCR amplification and analysis of samples for CODIS upload.
      • Assisted in development and production of Y-PLEXTM 5 and Y-PLEXTM 12 amplification kits, which consists
          of a primer mix, allelic ladder and controls, used for Y-STR analysis.
      • HIV Genotyping, DNA sequencing to determine patient’s drug resistance profile.
      • Performed Medical Diagnostics Testing for infectious diseases

  Forensic DNA Analyst I/II/III and Team Leader (2003-2007):
      • Conduct scientific analysis on multiple forms of biological evidence on forensic casework utilizing PCR
          based DNA analysis following standard operating procedures for forensic DNA testing. Systems used on a
          routine basis include STR kits, Y-STR kits, MiniSTR, and Mitochondrial DNA analysis using the ABI 310,
          3100 and 3130 Genetic Analyzers and the ABI 377 DNA Sequencer platforms.
      • Responsible for processing casework in an accurate and timely manner. Prepare, write, and sign case reports,
          and available as an expert Forensic DNA analysis for court testimony.

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    •   Routinely communicate directly with clients regarding various aspects of their case, from evidence collection
        to trial preparation.
    •   Available to less senior laboratory personnel as a resource for training, technical advice, problem solving,
        and questions.
    •   Assist Senior Forensic Scientists with the maintenance of training, QA/QC, safety measures, and proficiency
        testing in the laboratory.

Laboratory Experience

•   DNA Extractions (PCR-STR)
•   PCR Amplification
•   PCR Analysis and Interpretation
•   Paternity Testing
•   Forensic Biology Screening (Presumptive and Confirmatory Immunoassays)
•   Forensic Analysis, Case Reporting and Technical Review
•   Y-STR Experience
•   Mini STR Experience
•   Mitochondrial DNA Experience
•   Technical Reviews
•   Case Reviews

Certifications

American Board of Criminalistics (ABC) – Molecular Biology

Memberships

Member – American Academy of Forensic Sciences (AAFS)

Testimony Experience

Qualified and testified as a Forensic DNA analyst/expert over 120 times in several different
jurisdictions.


Publications

1. Shewale, J.G., Nasir, H., Schneida, E., Gross, A.M., Budowle, B. and Sinha, S.K. 2004. Y-
   Chromosome STR system, Y-PLEXTM 12, for forensic casework: Development and validation.
   J. Forensic Sci. 49: 1278 - 1290.
2. Sinha, S.K., Budowle, B., Chakraborty, R., Paunovic, A., Guidry, R.D., Larsen C., Lal, A.,
   Shaffer, M., Pineda, G., Sinha S.K., Schneida, E., Nasir, H. and Shewale, J.G. 2004. Utility of
   the Y-STR typing system Y-PLEXTM 6 and Y-PLEXTM 5 in forensic casework and 11 Y-STR
   haplotype database for three major population groups in the United States. J. Forensic Sci. 49:
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   691-700.

3. Sinha, S.K., Nasir, H., Gross, A.M., Budowle, B. and Shewale, J.G. 2003. Development and
   validation of the Y-PLEXTM5, a Y-chromosome STR genotyping system, for forensic
   casework. J. Forensic Sci. 48: 985-1000.

4. Shewale, J.G., Nasir, H. and Sinha S.K. 2003. Variation in migration of the DNA fragments
   labeled with fluorescent dyes on the 310 Genetic Analyzer and its implication in the
   genotyping. The Journal of the Association of Genetic Technologists. 29: 60-64.

 Abstracts

1. Orchid Cellmark’s Osteo-Pure™ Bone Extraction Procedure Captures Degraded DNA to
   Improve STR Results.C.B. Smitherman, H. Nasir, W.L. Hoffman, R.W. Staub, and S.K.
   Sinha. Promega Meeting, 2010.

2. Shewale, J.G., Nasir, H., Schneida, E., and Sinha, S.K, 2003. Development and Validation of
   a Y-Chromosome STR Genotyping System, Y-PLEXTM 12, for Forensic Casework. 29th
   Annual Meeting NEAFS 2003, Pittsfield, MA. European Academy of Forensic Science
   Triennial Meeting 2003, Istanbul, Turkey. 14th International Symposium on Human
   Identification 2003, Phoenix, AZ. American Academy of Forensic Sciences 56th Annual
   Scientific Meeting 2004, Dallas, TX.

3. Sudhir K. Sinha, PhD, Amrita Lal, MSFS, Chris Larson, BS, Alison Flemming, BA, Huma
   Nasir, BS, Elaine Schneida, BS, and Jaiprakash Shewale, PhD. Validation and Forensic
   Casework Applications of the Y-STR Genotyping Systems Y-PLEXTM 6 and Y-PLEXTM 5.
   Annual meeting of the American Academy of Forensic Sciences 2003, Chicago, IL.
4. Sinha, S.K., Nasir, H., Schneida, E. and Shewale, J.G. Y-Chromosome Specific STR Analysis
   Using Y-PLEXTM6 and Y-PLEXTM5 Amplification Kits. FASEB Meeting 2002, New Orleans,
   LA.


5. Sinha, S., Nasir, H., Schneida, E. and Shewale J. Y-Chromosome specific STR analysis using
   a combination of Y-PLEX™6 and Y-PLEX™5 amplification kits. Proc. 16th 9Meeting of the
   International Association of Forensic Sciences 2002, Edited by E. Baccino, pp. 21-24,
   Monduzzi Editore.




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